                     Case: 24-50149          Document: 181          Page: 1                Date Filed: 04/12/2024




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                                                          April 12, 2024

       Via CM/ECF
       United States Court of Appeals
         For the Fifth Circuit
       Office of the Clerk
       Attn: Lyle W. Cayce
       F. Edward Hebert Building
       600 S. Maestri Place, Suite 115
       New Orleans, LA 70130-3408

                Re: No. 24-50149
                    United States of America
                    No. 1:24-CV-8-DAE (lead case)
                    No. 1:23-CV-1537-DAE (consolidated case)

       Dear Mr. Cayce:

              Pursuant to the Court’s Notice Letter of April 8, 2024, Appellant, Bill D. Hicks, in his official
       capacity as District Attorney for the 34th District, hereby joins and adopts the Letter Brief filed by
       Appellant, State of Texas, as Docket No. 179.

                                                           Sincerely yours,

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                                                           By: /s/ Francisco J. Ortega                                                     _
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                                                               Texas Bar No. 24060365
                                                                fort@scotthulse.com
                                                               Attorney for Appellant Bill D. Hicks

       cc:         All Counsel of Record via CM/ECF



                                                                                                                   130 Years of Commitment
